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                                                [DO NOT PUBLISH]
                                    In the
                United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                 No. 23-12698
                           Non-Argument Calendar
                           ____________________

       JEREMY SORENSON, et al.,
       individuals,
                                                              Plaintiﬀs,
       ADAM MCLEAN,
       an individual,
       JAMES DOYLE,
       an individual, on behalf of themselves
       and all others similarly situated,
                                                   Plaintiﬀs-Appellants,
       versus
       DELTA AIR LINES INC.,
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USCA11 Case: 23-12698 Document: 25-1 Date Filed: 01/03/2024 Page: 2 of 4




       2                      Opinion of the Court                 23-12698

                                                       Defendant-Appellee.


                            ____________________

                  Appeal from the United States District Court
                     for the Northern District of Georgia
                     D.C. Docket No. 1:17-cv-00541-ELR
                           ____________________

       Before WILSON, GRANT, and BRASHER, Circuit Judges.
       PER CURIAM:
              Upon review of the record and the parties’ responses to the
       jurisdictional questions, we conclude that we lack jurisdiction over
       this appeal.
              Appellants Adam McLean and James Doyle, individually and
       on behalf of all others similarly situated, challenge the district
       court’s March 31, 2023 order granting in part defendant Delta Air
       Lines, Inc.’s (“Delta”) motion for summary judgment. The March
       31 order dismissed all claims asserted by plaintiffs Jeremy Sorenson,
       Randal Reep, McLean, and Doyle, leaving only plaintiff Randal
       Smith’s discrimination claim outstanding.
              On August 30, 2023, a stipulation of dismissal pursuant to
       Federal Rule of Civil Procedure 41(a)(1)(A)(ii) that purported to dis-
       miss all of Smith’s claims with prejudice was filed in the district
       court. The parties do not dispute that the stipulation was filed and
       signed on behalf of only Smith and Delta, as reflected on the
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       23-12698                Opinion of the Court                          3

       document itself. On September 8, 2023, the clerk entered a judg-
       ment in favor of Delta on all claims, except Smith’s discrimination
       claim and stated that Sorenson, Reep, Doyle, and McLean were dis-
       missed from the action.
               Because the August 30, 2023 stipulation of dismissal was
       signed by fewer than all parties who had appeared in the litigation,
       the stipulation was ineffective, and Smith’s discrimination claim re-
       mains pending before the district court. See Fed. R. Civ. P.
       41(a)(1)(A)(ii) (providing that a plaintiff may voluntarily dismiss an
       action by filing “a stipulation of dismissal signed by all parties who
       have appeared”); City of Jacksonville v. Jacksonville Hosp. Holdings,
       L.P., 82 F.4th 1031, 1034 (11th Cir. 2023) (holding that Rule
       41(a)(1)(A)(ii)’s signature requirement applies to all parties, includ-
       ing those who were previously removed from the action). Addi-
       tionally, the district court did not certify its March 31, 2023 order
       for immediate review pursuant to Federal Rule of Civil Procedure
       54(b). See Supreme Fuels Trading FZE v. Sargeant, 689 F.3d 1244, 1246
       (11th Cir. 2012) (providing that an order that disposes of fewer than
       all claims against all parties to an action is not final or immediately
       appealable absent certification by the district court pursuant to
       Rule 54(b)). Thus, we lack jurisdiction to consider this appeal. See
       28 U.S.C. § 1291; Acheron Cap., Ltd. v. Mukamal, 22 F.4th 979, 986
       (11th Cir. 2022) (“A final decision is typically one that ends the liti-
       gation on the merits and leaves nothing for the court to do but ex-
       ecute its judgment.” (quotation marks omitted)).
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       4                          Opinion of the Court                        23-12698

                 Accordingly, this appeal is DISMISSED for lack of jurisdic-
       tion. 1




       1 We also asked the parties to address whether the August 30, 2023 stipulation

       of dismissal was valid, given that it only dismissed one of the plaintiff’s claims
       against the defendant. Because we find that we lack jurisdiction over the ap-
       peal because the stipulation was signed by fewer than all parties that appeared
       in the action, we express no opinion regarding whether the stipulation was
       also invalid because it only dismissed one of the plaintiff’s claims against the
       defendant.
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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303


David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                         January 03, 2024

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 23-12698-D
Case Style: Adam McLean, et al v. Delta Air Lines Inc.
District Court Docket No: 1:17-cv-00541-ELR

Electronic Filing
All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with
FRAP 41(b).

The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
timely only if received in the clerk's office within the time specified in the rules. Costs are
governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

Please note that a petition for rehearing en banc must include in the Certificate of Interested
Persons a complete list of all persons and entities listed on all certificates previously filed by
any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
reheard must be included in any petition for rehearing or petition for rehearing en banc. See
11th Cir. R. 35-5(k) and 40-1 .

Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
compensation for time spent on the appeal no later than 60 days after either issuance of mandate
or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
system.
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                                                    OPIN-1 Ntc of Issuance of Opinion
